Case 06-10725-gwz Doc 3730-5 Entered 05/14/07 14:12:23

Invoice No.:

Re:

Matter No.:

1868885
USA Commercial Mortgage Company
083230.012700

Description of Expenses Billed:

DATE

09/25/06
09/26/06
10/09/06
10/10/06
12/05/06
12/05/06
12/05/06

12/05/06

12/05/06

12/05/06

12/08/06

12/08/06

12/08/06

12/08/06

12/14/06
12/14/06
12/15/06

12/20/06

12/20/06

12/29/06

DESCRIPTION

Westlaw Research by WILLIAMS,COLLIN B.

Westlaw Research by WILLIAMS,COLLIN B.

Westlaw Research by POWELL, YOLANDA.

Westlaw Research by BADDLEY,DAVID W.

Telephone; 7023886587 from Ext. 8407 LAS VEGAS NV
Telephone; 7023886587 from Ext. 8407 LAS VEGAS NV
VENDOR: American Express INVOICE#: AETL200612 DATE:
12/11/2006

17800881839 Air/Rail Travel Peterman/Nancy A Ord-Las-Ord- 12/18/06
VENDOR: American Express INVOICE#: AETL200612 DATE:
12/11/2006

17800881843 Air/Rail Travel Peterman/Nancy A Las-Ord- 12/19/06
VENDOR: American Express INVOICE#: AETL200612 DATE:
12/11/2006

8908137919748 Air/Rail Travel Peterman/Nancy A 00-00-07
VENDOR: American Express INVOICE#: AETL200612 DATE:
12/11/2006

8908138203503 Air/Rail Travel Peterman/Nancy A 00-00-07
VENDOR: American Express INVOICE#: AETL200612 DATE:
12/11/2006

167800881907 Air/Rail Travel Peterman/Nancy A Las-Ord- 12/21/06

VENDOR: American Express INVOICE#: AETL200612 DATE:
12/11/2006

4017800881895 Air/Rail Travel Peterman/Nancy A Las-Ord- 12/21/06
VENDOR: American Express INVOICE#: AETL200612 DATE:
12/11/2006

8908138203555 Air/Rail Travel Peterman/Nancy A 00-00-07

VENDOR: American Express INVOICE#: AETL200612 DATE:
12/11/2006

8908138203565 Air/Rail Travel Peterman/Nancy A 00-00-07

2 Spiral binds; $4.00

Copy; 457 Page(s) by 016160

VENDOR: Cline Transcription Services; INVOICE#: 31121506981;
DATE: 12/15/2006 - 083230,012700 Transcript

VENDOR: Peterman, Nancy A. INVOICE#: C051000011372060047
DATE: 12/22/2006 TYPE: Hotel - Meals; REASON: Client Billable-CHI-
Bkcy-Shareholder; DATE: 12/20/06 - Meals

VENDOR: Peterman, Nancy A. INVOICE#: C05100001 1372060047
DATE: 12/22/2006 TYPE: Hotel - Non Meals; REASON: Client Billable-
CHI-Bkcy-Shareholder; DATE: 12/20/06 - Room and Misc charges

Copy; 5 Page(s) by 000999

Total Expenses:

Page 1 of 10

Page 9

AMOUNT

$ 33.22
$ 161.08
$ 41.87
$ 0.38
$ 0.40
$ 0.08
$ 238.60
$ 288.80
$ 29.00
$ 29.00
$ 321.42
$ 288.80
$ 29.00
$ 29.00
$ 4.00
$ 68.55
$ 981.20
$ 60.43
$ 469.47
$ 0.75
$ 3,075.05
Case 06-10725-gwz

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Invoice No.: 1868908 Page 1
Matter No.: 083230.012700
Description of Professional Services Rendered:
ACTION CODE: 804 CASE ADMINISTRATION
DATE TIMEKEEPER DESCRIPTION HOURS AMOUNT
01/03/07 ~—s Kerry E. Carlson Update pleading docket and register (0.40); 0.50 95.00
forward all objections to from of
confirmation order to N. Peterman (0.10).
01/05/07 ~—s Kerry E. Carlson Update docket and recently filed pleadings. 0.30 57.00
01/11/07 ~—s Kerry E. Carlson Update docket and recently filed pleadings; 0.50 95.00
route to N. Peterman; review confirmation
order.
01/15/07. = Nancy A. Peterman Review and analysis of recent pleadings 0.40 232.00
01/18/07 _—_— Elisa Rodriguez Monitor case docket and distribute recently 0.30 30.00
filed pleadings.
01/19/07 Elisa Rodriguez Monitor case docket and distribute recently 0.30 30.00
filed pleadings.
01/24/07 _—_— Elisa Rodriguez Monitor case docket and distribute recently 0.70 70.00
filed pleadings.
01/25/07 —_—_ Elisa Rodriguez Monitor case docket and distribute recently 0.20 20.00
filed pleadings.
01/26/07 —_ Elisa Rodriguez Monitor case docket and distribute recently 0.20 20.00
filed pleadings.
01/29/07 Carla Greenberg Monitor case docket and distribute recently 0.20 20.00
filed pleadings.
01/29/07 Nancy A. Peterman Prepare for and participate in weekly call 0.50 290.00
with client re all open matters, including
USACM.
01/30/07 Carla Greenberg Monitor case docket and distribute recently 0.20 20.00
filed pleadings.
01/31/07 _—_ Elisa Rodriguez Monitor case docket and distribute recently 0.10 10.00
filed pleadings.
Total Hours: 4.40
Total Amount: $ 989.00
TIMEKEEPER SUMMARY FOR ACTION CODE 804,
CASE ADMINISTRATION
Timekeeper Name Hours Billed Rate Total $ Amount
Nancy A. Peterman 0.90 580.00 522.00
Kerry E. Carlson 1.30 190.00 247.00
Carla Greenberg 0.40 100.00 40.00
Elisa Rodriguez 1.80 100.00 180.00
Totals: 4.40 224.77 $ 989.00
Case

Invoice No.:
Matter No.:

06-10725-gwz

1868908
083230.012700

Description of Professional Services Rendered

ACTION CODE: 806

DATE

TIMEKEEPER

01/02/07

01/02/07

01/02/07

01/03/07

01/03/07

01/03/07

01/04/07

01/05/07

01/05/07

01/06/07

Kerry E. Carlson

Leslie A. Klein

David C. Strosnider

Kerry E. Carlson

Leslie A. Klein

David C. Strosnider

David C. Strosnider

David W. Baddley

David C. Strosnider

David C. Strosnider

EMPLOYEE BENEFITS/PENSIONS

DESCRIPTION

Research all confirmation pleadings
relevant to the PBGC trust and pension
plan (.60); discuss status of same with D.
Strosnider (.10); prepare index of same

(.40).

Conference with David Strosnider and
analyze issues relating to investment of

pension assets.

Review Plan of Reorganization,
Decleration of Thomas J. Allison in
Support of the Confirmation (1.0); and
calculate Form 5500 weighted average for

2004 plan year (1.4).

Conduct additional research relating to
Debtors' retirement plans and trust
agreement (1.0); exchange correspondence
with Debtors' counsel re same (.50);
research debtors' most current form 5500
for employee benefit plans (.50); discuss
related documents with D. Strosnider

(0.20).

Conference with David S. re: plan of
reorganization and pension plan investment

issues.

Conference w/ L. Klein re: numerous
ERISA issues (0.80); Appointment of a
Successor Trustee for Defined Benefit
Pension Plan and to Freeze the Plan (1.0);
conference w/ K. Carlson re: obtaining
2005 Form 5500 and copy of Defined
Denefit Pension Plan and Trust (0.10).
Review Objection of the PBGC to Debtors
Third Amended Joint Chapter 11 (0.40) ;
review USA Capital First Trust Deed Fund,
LLC's Objection to Claim No. 83, 84, and
85 filed by PBGC (.40); review USA
Capital Diversified Trust Deed Fund, LLC's
Objection to Claim No. 79, 80, and 81 filed

by PBGC (0.40).

Conference w/ D. Strosnider re: pension

issues under plan.

Review asset purchase agreement and
prepare memorandum re: fiduciary issues
(2.0); conference call w/ L. Klein re: same

(0.40).

Complete memorandum re fiduciary sale

HOURS

1.10

0.60

2.40

2.20

0.80

1.90

1.20

0.30

2.40

1.10

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Page 2

AMOUNT

209.00

381.00

840.00

418.00

508.00

665.00

420.00

141.00

840.00

385.00
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Invoice No.: 1868908
Matter No.: 083230.012700

Description of Professional Services Rendered

issues,

01/08/07 ~— Kerry E. Carlson Exchange correspondence with Debtors'
counsel regarding pension benefit plans and
trust agreement (0.30); further research on
Debtors' Form 5500 (.20).

01/08/07 Leslie A. Klein Conference with David Strosnider (0.10);
review plan and trust re: plan fiduciaries
(0.10).

01/08/07 —- David C. Strosnider Review Defined Benefit Pension Plan and
Trust Agreement (1.0); conference w/ N.
Peterman re: status of memorandum (0.80);
conference w/ L. Klein re: Pension Plan
provisions addressing naming of Plan
Administrator(0.80).

01/09/07 _—— Kerry E. Carlson Exchange correspondence regarding Form
5500 (0.30); receive and review the same
(0.20).

01/09/07 Leslie A. Klein Review and revise fiduciary memo (1.0);
conference with Davis Strosnider regarding
changes (0.20).

01/09/07 _— David C. Strosnider Conference with L. Klein re: comments and
review of memorandum (0.60); revise and
draft additional sections of memorandum
(1.4); review 2005 Form 5500, and
calculate weighted investment return for the
year (.10).

01/10/07 David C. Strosnider Review 2005 Form 5500 and associated
Schedules (0.20); calculated weighted
investment return (.10) ; prepare
memorandum to N. Peterman examining
USA Commercial Mortgage Company
Defined Benefit Pension Plan (.80); review
and revise same; conference w/ N.
Peterman re: same (.20).

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0.50

0.20

2.60

0.50

1.20

2.10

1.30

Page 3

95.00

127.00

910.00

95.00

762.00

735.00

455.00

Total Hours:

22.40

Total Amount:

TIMEKEEPER SUMMARY FOR ACTION CODE 806,

EMPLOYEE BENEFITS/PENSIONS

Timekeeper Name Hours Billed Rate

$ 7,986.00

Total $ Amount

Leslie A. Klein 2.80 635.00
David W. Baddley 0.30 470.00
David C. Strosnider 15.00 350.00
Kerry E. Carlson 4.30 190.00

1,778.00
141.00
5,250.00
817.00

Totals: 22.40 356.52

7,986.00
Case 06-10725-gwz Doc 3730-5 Entered 05/14/07 14:12:23 Page 5 of 10

Invoice No.: 1868908 Page 4
Matter No.: 083230.012700

Description of Professional Services Rendered

ACTION CODE: 810 LITIGATION MATTERS
DATE TIMEKEEPER DESCRIPTION HOURS AMOUNT
01/27/07 Nancy A. Peterman Prepare email to J. Atkinson re 2004 0.60 348.00
requests for MFIM.
Total Hours: 0.60

Total Amount: $ 348.00

TIMEKEEPER SUMMARY FOR ACTION CODE 810
LITIGATION MATTERS

Timekeeper Name Hours Billed Rate Total $ Amount
Nancy A. Peterman 0.60 580.00 348.00

Totals: 0.60 580.00 $ 348.00
Case 06-10725-gwz

Invoice No.:
Matter No.:

1868908
083230.012700

Description of Professional Services Rendered

ACTION CODE: 812

DATE
01/02/07

01/02/07
01/08/07

01/09/07

01/09/07

01/17/07
01/22/07

01/23/07

TIMEKEEPER
Nancy A. Peterman

Nancy A. Peterman
Kerry E. Carlson

Kerry E. Carlson

Nancy A. Peterman

Nancy A. Peterman
Nancy A. Peterman

Nancy A. Peterman

PLAN & DISCLOSURE STATEMENT

DESCRIPTION

Review draft confirmation orders.

Review disbursing agreements.

Research and distribute objections to
confirmation (.30); research docket for
entry of proposed confirmation order
(0.20); check with court reporter for
missing transcript for September 29 hearing
(0.20).

Review objections to confirmation order
(0.30).

Review and respond to email from client re
plan issues (.20); prepare email to client re
confirmation order (0.10).

Review notice of appeal of confirmation
order.

Telephone conference with S. Darr re: stay
pending appeal.

Review and respond to email from S. Darr
re: appeal/stay pending appeal.

Total Hours:

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Page 5
HOURS AMOUNT

1.00 580.00
1.00 580.00
0.70 133.00
0.30 57.00
0.30 174.00
0.20 116.00
0.20 116.00
0.10 58.00
3.80

Total Amount: $ 1,814.00

TIMEKEEPER SUMMARY FOR ACTION CODE 812,

PLAN & DISCLOSURE STATEMENT

Timekeeper Name Hours Billed Rate Total $ Amount
Nancy A. Peterman 2.80 $80.00 1,624.00
Kerry E. Carlson 1.00 190.00 190.00

Totals: 3.80 477.37 $ 1,814.00
Case 06-10725-gwz

Invoice No.:
Matter No.:

1868908
083230.012700

Description of Professional Services Rendered

ACTION CODE: 813

DATE

01/02/07
01/03/07
01/12/07

01/17/07

01/17/07

01/24/07

01/24/07

01/25/07

01/26/07

01/31/07

TIMEKEEPER

Nancy A. Peterman
Collin B. Williams

Nancy A. Peterman

Nancy A. Peterman

Nancy A. Peterman

Kerry E. Carlson

Nancy A. Peterman

Nancy A. Peterman

Nancy A. Peterman

Nancy A. Peterman

FEE/EMPLOYMENT APPLICATIONS

DESCRIPTION

Review fee response for UST.

Work on memo regarding fee
enhancements and requirements for fee
enhancements

Review and comment on supplemental
declaration.

Exchange emails with J. Atkinson and A.
Jarvis re: case status and extension of
MFIM's employment.

Telephone conference with J. Atkinson re:
fee issues.

Review docket and review Mesirow's first
interim application, objections, reply and
orders entered thereto (.30); discuss same
with N. Peterman (0.10).

Exchange emails with J. Atkinson, S. Smith
and T. Allison re fee payments (.20);
telephone conference with the UST re fee
objection (.30); telephone conference with
J. Atkinson re same (.30); prepare email to
client re status of issues with UST (.20).
Exchange emails with J. Atkinson re fee
issues and continued retention.

Prepare email to UST re meeting on fees
and payment of fees from sale proceeds.
Determine all open issues re fees for
tomorrow's meeting (0.30); prepare emails
to client re same (0.10).

Total Hours:

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Page 6
HOURS AMOUNT

0.40 232.00
1.00 320.00
0.30 174.00
0.20 116.00
0.40 232.00
0.40 76.00
1.00 580.00
0.20 116.00
0.20 116.00
0.40 232.00
4.50

Total Amount: $ 2,194.00

TIMEKEEPER SUMMARY FOR ACTION CODE 813,

FEE/EMPLOYMENT APPLICATIONS

Timekeeper Name Hours Billed Rate Total $ Amount
Nancy A. Peterman 3.10 580.00 1,798.00
Collin B. Williams 1.00 320.00 320.00
Kerry E. Carlson 0.40 190.00 76.00

Totals: 4.50 487.56 $ 2,194.00
Case 06-10725-gwz

Invoice No.: 1868908

Matter No.: 083230.012700

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Description of Professional Services Rendered

TIMEKEEPER ACTIVITY GRAND TOTAL SUMMARY

Page 7

Timekeeper Name Hours Billed Rate Total $ Amount
Leslie A. Klein 2.80 635.00 1,778.00
Nancy A. Peterman 740 580.00 4,292.00
David W. Baddley 0.30 470.00 141.00
David C. Strosnider 15.00 350.00 5,250.00
Collin B. Williams 1.00 320.00 320.00
Kerry E. Carlson 7.00 190.00 1,330.00
Carla Greenberg 0.40 100.00 40.00
Elisa Rodriguez 1.80 100.00 180.00

Totals: 35.70 373.42 13,331.00
Case 06-10725-gwz

Invoice No.:

Re:

Matter No.:

1868908
USA Commercial Mortgage Company
083230.012700

Description of Expenses Billed:

DATE
12/20/06

12/20/06

12/20/06

12/20/06
12/20/06

12/21/06

12/21/06
12/21/06

12/27/06
12/28/06
01/03/07

01/06/07

DESCRIPTION

VENDOR: Cline Transcription Services; INVOICE#: 448; DATE:
12/20/2006 - 083230.012700 Transcript Service

VENDOR: American Express INVOICE#: AETL200701 DATE:
1/11/2007 17800881843 Air/Rail Travel Peterman/Nancy A 00-00-07

VENDOR: American Express INVOICE#: AETL200701 DATE:
1/11/2007 17803859829 Air/Rail Travel Peterman/Nancy A Las-Ord-
12/20/06

VENDOR: American Express INVOICE#: AETL200701 DATE:
1/11/2007 8908138446861 Air/Rail Travel Peterman/Nancy A 00-00-07

VENDOR: American Express INVOICE#: AETL200701 DATE:
1/11/2007 8908138446862 Air/Rail Travel Peterman/Nancy A 00-00-07

VENDOR: FedEx INVOICE#: 860742509 DATE: 12/29/2006 Tracking
#798070694597; From: Kerry Carlson, Greenberg Traurig, 77 W Wacker
Dr, Chicago, IL 60601; To: Lisa Cline, Cline Transcription Services, 1306
West Craig Road, North Las Vegas, NV 89032

VENDOR: American Express INVOICE#: AETL200701 DATE:
1/11/2007 167800881907 Air/Rail Travel Peterman/Nancy A 00-00-07

VENDOR: American Express INVOICE#: AETL200701 DATE:
1/11/2007 4017800881895 Air/Rail Travel Peterman/Nancy A 00-00-07

Westlaw Research by WILLIAMS,COLLIN B.
Westlaw Research by WILLIAMS,COLLIN B.

VENDOR: Base Limousine Service; INVOICE#: 8055; DATE: 1/3/2007 -
Acct: GTLAW, Limousine Services from 12/15/06 to 12/20/06

Westlaw Research by STROSNIDER,DAVID C.

Total Expenses:

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Invoice No.: 1868891 Page 1
Matter No.: 083230.012700
Description of Professional Services Rendered:
ACTION CODE: 804 CASE ADMINISTRATION
DATE TIMEKEEPER DESCRIPTION HOURS AMOUNT
02/03/07 Nancy A. Peterman Review and analysis of recent pleadings. 0.50 290.00
02/05/07 ~=Nancy A. Peterman Review recent pleadings (.1). 0.10 58.00
02/20/07 ~=Nancy A. Peterman Telephone conference with J. Atkinson re 0.20 116.00
case status, including fees, license issues,
etc.
02/21/07 Nancy A. Peterman Telephone conference with S. Strong re 1.90 1,102.00
case status (.6); review and analysis of
recent pleadings (.4); prepare email update
to MFIM re open issues (.9).
02/24/07. ~=Nancy A. Peterman Review and analysis of recent pleadings. 0.90 522.00
02/26/07 Nancy A. Peterman Review and analysis of recent pleadings. 0.50 290.00
02/27/07 = Nancy A. Peterman Review recent pleadings. 0.20 116.00
02/28/07 Nancy A. Peterman Review recent pleadings. 0.20 116.00
Total Hours: 4.50
Total Amount: $ 2,610.00
TIMEKEEPER SUMMARY FOR ACTION CODE 804
CASE ADMINISTRATION
Timekeeper Name Hours Billed Rate Total $ Amount
Nancy A. Peterman 4.50 580.00 2,610.00
Totals: 4.50 580.00 $ 2,610.00
